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                         EXHIBIT A
               Case 2:22-cv-01010-MCS-RAO Document 1-2 Filed 02/14/22 Page 2 of 14 Page ID #:11
Electronir;illy FIi.ED by Superior Court of California, County or Lus Angeles on 07/06/2UZ1 UJ:49 PM Sheni R. Carter, Executive Officer/Clerlc of Court, by N. Alvarez.Deputy Clerlc
                                                                                        21STCV24791



                                                                                                                                                                          SUM-100 ·
                                                            SUMMONS                                                                             FOR COURT USE ONLY
                                                                                                                                            (S.OL()l"ARA USO DE LA CORTE)
                                                  (CITAC10N JUDICIAL)
              NOTICE TO DEFENDANT:
              (AV/SO AL DEMANDADO):
               COSTCO WHOLESALE CORPORATION; AND DOES 1-50
               INCLUSIVE
              YOU ARE BEING SUED BY PLAINTIFF:
              (LO ESTA DEMANDANDO EL DEMANDANTE):
               LEE MIR, an individual


                NOTICE! You have been sued. The court may decide against you without your being heard unless you respond within 30 days. Read the information
               below.
                  You have 30 CALENDAR DAYS after this summons and legal papers are served on you to file a written response at this court and have a copy
               served on the plaintiff. A letter or phone call wlll not protect you. Your written response must be In proper legal form if you want the court to hear your
               case. There may be a court form that you can use for your response. You can find these court forms and more information at the Cafifomla Courts
               Online Self-Help Center (www.courtinfo.ca.gov/selfhelp), your county law library, or the courthouse nearest you. If you cannot pay the filing fee, ask
               the court clerk fur a fee waiver form. If you do not file your response on time, you may lose the case by default, and yol.l" wages, money, and property
               may betaken without further warning from the court.
                   There are other legal requirements. You may want to call an attorney right away. If you do not know an attorney, you may want to call an attorney
               referral service. If you cannot afford an attorney, you may be eligible for free legal services from a nonprofit legal services program. You can locate
               these nonprofit groups at the Ca~fornia Legal Services Web site (www.lawhelpcalifomia.org), the California Courts Online Self-Help Center
               (www.courtinfo.ca.gov/selfhelp), or by contacting your local court or county bar association. NOTE: The court has a statutory lien for waived fees and
               costs on any seWement or arbitration award of $10,000 or more in a civil case. The court's lien must be paid before the court will dismiss the case.
               JA VISO/ Lo han demandado. Si no responde dentro de 30 dlas, la corte puede decldir en su contra sin escuchar su versi6n. Lea la /nformacl6n a
               continuaci6n.
                  Tieoo '30 DfAS DE CALENDAR/0 despues de qua la entreguen esta citaci6n y papeles /egales para presentar una respuesta por escrito en esta
               corte y hacer que se entregue una copia al demandrmte. Una carta o una /Jamada telef6nica no lo protegen. Su respuesta por escrito tlena que estar
               en formato legal correcto si desea que procesen su caso en la corle. Es posible que haya un formulario que usted pueda usar para su respuesta.
               Puede encontrar estos formular/os de la corte y mas lnformac/6n en el Centro de Ayuda de las Cortes de California (www.sucorte.ca.govJ, en la
               biblioteca de /eyes de suco 2 ? ~ • ~ que le quede mas cerca. Si no puede pagar la cuota de presentaci6n, pida al secretario de la corte
               que le de un formulario de exenci6n de paf!Jf'1f!J-aotas. Si no presenta su respuesta a tiempo, puede perder el caso por incump/imiento y la carte le
               podra quitar su sue/do, dinero y bienes sin mas advertencia.
                 Hay otros requisilos legales. Es recomendable que /lame a un abogado inrnediatamente. Si no conoce a un abogado, puede llamar a un servicio de
               remisi6n a abogados. SJ no puede pagar a un abogado, es posible que cump/a con /os requ/sitos para obtener serviclos /egales gratuitos de un
               programa de servicios /ega/es sin fines de lucro. Puede encontrar estos grupos sin fines de lucro en el sitio web de Galifomia Legal Services,
               f.Yww.lawhelpcatifomia.org), en el Centro de Ayuda de las Cortes de California, (www.sucorte.ca.govJ o poniendose en contacto con ta corte o el
               colegio de abogados locales. AV/SO: Por fey, la corte tiene derecho a rec/amar las cuotas y /os coslos exentos por imponer un gravamen sobre
               cualquier recuparaci6n de $10,000 6 mas de valor recibida mediante un acuerdo o una concesi6n de arbitraje en un caso de derecho civil. T,ene que
               pagar el gravamen de la corte antes de que la corte pueda desechar el caso.

              The name and address of the court is:                                                                            CASE NUMBER:
                                                                                                                               (Numero de/ Caso):
              {El nombre ydirecci6n de la corte es): STANLEY MOSK
                                                                                                                                  21STCV24791
               1 l l N. HILL STREET
               LOS ANGELES. CA 90012
              The name, address, and telephone number of plaintiffs attorney, or plaintiff without an attorney, is:
              (El nombre, la direcci6n y el numero de telefono de/ abogado de/ demandante, o de/ demandante que no tiene abogado, es):
               Law Offices ofD. Hess Panah & Associates 9454 Wilshire Blvd 6th Floor Beverly Hills CA 90212
                                                            Sherri R. Carter Executive Officer I Clerk of Court
              DATE: 0710612 0 21                                                     Clerk, by .                                                                            , Deputy
              (Fecha)                                                                (Secretario)                 N. Alvarez                                                 (Adjunto)
              (For proof of service of this summons, use Proof of Service of Summons (form POS-010).)
              (Para prueba de entrega de esta citation use et formulario Proof of Service of Summons, (POS-010)).
                                                   NOTICE TO THE PERSON SERVED: You are served
               ISEAl.J
                          ·. ~:----~·,..·~ ... .,.
                                                   1.       D
                                                           as an individual defendant.
                     ... ~,oRl.,'P,t .> .          2. c::J as the person sued under the fictitious name of (specify):
                     .-<   .··----- " (
                ',

                                                       3 _ [X] on behalf of (specify):          Costco Wholesale Corporation
               l.
                                                            under:   D       CCP 416.10 (corporation)                           c::J      CCP 416.60 (minor)
                                                                     D       CCP 416.20 (defunct rorporation)·                  c::J      CCP 416.70 (conservatee)
                                                                     D       CCP 416.40 (association or partnership)            c::J      CCP 416.90 (authorized person)
                                                                   IX] other (specify): Form                unknown
                                                       4.   D     by personal delivery on {date):
                                                                                                                                                                               Pae1of1
                Form Adopted for Mandatory Use                                             SUMMONS                                                    Code ofCIYtl Procedure §§412.20, 465
                  Judicial Council ol Calttomia                                                                                                                        www.axrtinfo.ca.gov
                 SUM-100 [Rev. July 1. 2009]
                Case   2:22-cv-01010-MCS-RAO Document  1-2 Filed 02/14/22 Page 3 of 14 Page ID #:12
Electronically FILED bv Superior.Court of California, County of Los Angeles on 07/06/2021 03:49 PM Sherri R. Carter, Executive Officer/Cieri< of Court, by N. Alvarez.Deputy Cieri<
            ·      ,.. .                           21STCV24791

                                         Assigned for all purposes to: Spring Street Courthouse, Judicial Officer: Daniel Crowley
                                  ,.
                 1.   Hesam Y azdanpanah, Esq..j27~_964
                      LAw OFFICES OF D. HEss·p ANAH
                 2    & AS SOCIATES
                      9454 Wilshire Blvd., 61h Floor
                 3    Beverly Hills, CA 90212 -
                      (310) 860-9464
                 4
                      Attorney for Plaintiff
                 5


                 6


                 7


                 8                                     SUPERIOR COURT FOR THE STATE OF CALIFORNIA

                 9                                                                 LOS ANGELES COUNTY
                                                                                                     )                               21STC:V24791
                10    :{.EE- MIR, an indi vidua1                                                     )       CASE NO.
                                                                                                     )
                11                            P1aintiff,                                             )       COMPLAINT FOR DAMAGES
                                  vs.                                                               -}
                                                                                                             (NEGLIGENCE)
                12
                                                                                                     )
                      COSTCO.WHOLESALE CORPORATION;                                                  )
                                                                                                             UNLIMITED CIVIL CASE
                13    AND DOES 1-50 INCLUSIVE                                                        )       DEMAND EXCEEDS $25,000.00
                                                                                                     )
                14                            Defendant,                                             )

                15    _________________                                                              )
                                                                                                     )

                16

                                  COMES NOW, the plaintiff and for Cause of Action against
                17

                      defendants, and each of them, complains and alleges as follows:
                18

                                                                               FIRST CAUSE OF ACTION
                19

                                  1. The true names and capacities, whether individual, corporate,
                20

                      associate, or otherwise of defendants, DOES 1 through 50, inclusive,
                21
                      are at this time unknown to plaintiff who therefore sues said
                22

                      -defendants by such fictitious names. Plaintiff is informed and
                23

                      believes and thereon alleges that each of the defendants designated
                24

                       herein by a fictitious name is in some way negligent or responsible
                25

                       for the events and happenings herein referred to which proximately
                26

                       resulted in those injuries and damage to the plaintiff as herein
                27

                      _alleged.
                28

                                                                                                                             LtVV Offices ofD. Hess Pa11al, & Associates
                                                                                                                             9454 Wilshire Bl,d. 6th Floor
                       Complaint for Damages                                                                                 Beverly HIiis, CA 90212 . (310)860-9464
                                                                                                         1
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 1         2. At all times herein mentioned, defendants, DOES 20 through 30,

 2   tn~lusive, and each of them, were doctors, ~hysicians, nurses, health

 3   care providers and the like who treated_and cared for plaintiff herein

 4   and who were responsible in some manner for the plaintiff~s injuries

 5   and damages as more fully set forth herein.

 6         3. At all times herein mentioned, defendants, DOES 31 through 40,

 7   inclusive, and each of them, were manufacturers, suppliers. and

 a   distributors of some unknown product, which was responsible in part

 9   for plaintiff's injuries and damages as more fully set forth herein.

10         4. At all times herein mentioned, defendants, DOES 1 through 20,

11   and each of them, were business entities, form unknewn, duly qualified

12   to do business and lawfully doing business in the County of Los

13   Angeles, State of talifornia.

14         5. Plaintiff is informed and believes, and upon such information

15   and belief, alleges that at all times herein mentioned, defendants,

16   and each of them, were acting as the agents, servants, and/or

17   employees of the other named defendants, and were within the course

18   and scope of their employment and with the full knowledge and consent

19   of each of the other named defendants. Each defendant subsequently

20   ratified and condoned the conduct of each remaining defendant.

21         6. At all times herein mentioned, defendants, COSTCO WHOLESALE

22   CORPORATION; AND DOES 1-50 INCLUSIVE ,_:and DOES 1 thru 50, and each of

23   them, were the owners, care takers, and managers of a building located

24   in Los Angeles., hereinafter referred to as the "subject location".

25         7. At all times herein mentioned, plaintiff, LEE MIR, an

26   individual, was a patron.

27         8. At all times herein mentioned 5700 Lindero Canyon Rd, was and

28   is in the County of LOS ANGELES,· State of.California (hereinafter
                                                    Law Offices of D. Hess Ptmaf1 & Associates
                                                    9454 Wifsl,ire Blvd. 6th Floor
     Complaint for Damages                          Beverly Hills, CA 90212   (310)860-9464.
                                          2
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 1
     referred to as "subject location").

 2
           9. On or about July 9, 2019 at the subject location, the

 3
     defendants, and each of them, so negligently, carelessly, and·

 4
     recklessly owned, operated, maintained, supervised, cleaned and

 5
     ·managed said premises, so as to cause plaintiff substantial injuries.

 6
     More specifically, failing to provide safe flooring in the subject

 7
     location as to create a dangerous and hazardous condition, which

 8
     Defendants knew·, or in the exercise of reasonable care should" nave

 9
     known existed sufficient time prior to incident to have warned or

10
     cautioned Plaintiff and/or to have corrected and/or remedied such

11
     condition, which the defendants carelessly and negligently failed and

12
     reused to do, proximately causing those injuries and damages to

13
     Plaintiff as hereinafter described.

14
           10. That as a direct and proximate result of the acts and

15
     omissions of the defendants, and each of them, plaintiff has received

16
     severe injuries to her body and shock and injuries to her nervous

17
     system, all of which caused Plaintiff severe pain and discomfort and

18
     plaintiff is informed and believes and based upon such information and

19
     belief alleges that Plaint~ff will in the future suffer severe pain

20
     and discomfort, all to Plaintiff's general damage in a sum according

21
     to proof at the time of trial.

22
           11. That as a direct and proximate result of the acts and

23
     omissions of the defendants, and· each of them, and the injuries

24
     resulting therefrom, plaintiff has required and is informed and

25
     believes, will in the future require, the serv.ices of doctors,

26
     surgeons, physicians, nurses, hospitals, and the like-related

27
     professional services, including drugs, medicines, x-rays and medical

28
     expenses, and the exact and reasonable amount of said services and
                                                    Law Offices of D. Hess Ptma/1 & Associates
                                                    9454 Wils/rire Blvd. 6th Floor
     Complaint for Damages                          Beverly Hills, CA 90212 (3/0)860-9464
                                           3
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 1
      liabilities will conform to proof at the time of trial of this action.

 2
            12. That prior to that date of the injuries to Plaintiff,

 3
      Plaintiff was a able-bodied person capable of carrying on her usual

 4
      occupation. That as a direct and proximate result of the acts and

 5
      omissions of the defendants, and each of them, and the injuries

 6
      resulting therefrom, this plaintiff has been unable to carry out her

 7
      usual occupation and will thereby suffer damages by reason of loss of

 8
      income; that the exact and reasonable amount of said loss of income is

 9
      unknown to this plaintiff, who will ask leave of court to prove the

1.0
      reasonable value of said loss at the time of trial of this action.

11
           WHEREFORE, plaintiff prays for judgement against the defendants,

12
      and each of them as follows:

13
            1. General damages in an amount which will conform to proof at

14
      the time of trial;

15
            2. Special damages for medical, hospital, x-rays and other

16
      incidental expenses, according to proof at the trial;

17
            3. Cost of suit incurred herein; and

18
            4. For such other and further relief as the Court may deem just

19
      and proper.

20
      Dated: July 6, 2021                  LAW OFFICES OF D. HESS PANAH
                                           & ASSOCIATES
21


22


23
                                           By:         ;!Cf.~
                                                 ----,--=---------:-------=----=-------
                                           Hesam Yazdanpanah, ESQ.
24
                                           Attorney for Plaintiff
25

26

27


28

                                                         Law Offices of D. Hess Panah & Associates
                                                         9454 Wilshire Blvd. 6th Floor
      Complaint for Damages                              Beverly Hills, CA 90212 (310)860-9464
                                          4
               Case 2:22-cv-01010-MCS-RAO Document 1-2 Filed 02/14/22 Page 7 of 14 Page ID #:16
Flkc::tronically FILED by Superior Court of California, Cou11ly of Los Angeles on Uo//Ul:i/2021 03:49 PM Sherri R. Carter, Executive Officer/Cieri< of Court, by N. Alvarez.Deputy Clerk
                                                21STCV24791


                                                                                                                                                                                                                        CM-010
                ATTORNEY OR PARTY WITHOUT ATTORNEY (N!lme, Sia!!> Bar number, and adlkess):                                                                                  FOR COUITT USE OHL Y
              ,-Hesam Yazdanpanah, Esq. (SBN:275664)
                  LAW OFFICES OF D. HESS PANAH & ASSOCIATES
                  9454 Wilshire Blvd 6th Ffoor
                  Beverly Hills Caljfomia 90212
                        TEL.EPHONENO.:     (310)860-9464                        FAXNO.:   (310)860-8929
                AnoRNEY FOR      tN&mer. Plaintiffs
               SUPERIOR COURT OF CALIFORNIA, COUNTY OF  LOS ANGELES
                     STREETADDRESS:       111 NORTH HILL STREET
                     MAIUNGAODRESS:       111 NORTH HILL STREET
                    CITYANDZIPCOOE:       LOS ANGELES 90012
                         BRANCHNAME:      CENTRAL DISTRICT
                 CASE NAME:
                 LEE MIR v. COSTCO WHOLESALE CORPORATION                                                        .
                                                                                                                                                   CASE NUMBER:
                     CIVIL CASE.COVER SHEET                                         Complex Case Designation
               [lJ      Unlimited                D     Limited                D                        D                                               21STC:V24791
                        (Amount                        (Amount                       Counter             Joinder
                                                                                                                                                     JUOGE:
                        demanded                       demanded is            Filed with first appearance by defendant
                        exceeds $25,000)               $25,000 or less)           (Cal. Rules of Court, rule 3.402)                                    OEPT:
                                             Items 1-6 below must be completed (see instructions on page 2).
              1. Check one box below for the case type that best describes this case:
                   Auto Tort                                                Contract                                                  Provisionally Complex Civll Litigation
                · D        Auto(22)                                         D Breach of contraclfWarranty (06)                        (Cal. Rules of Court, rules 3.400-3.403)
               ·· D        Uninsured rnotorist{46)                          D Rule 3.740 co0ections (09)                              D           AntitrusVTrade regulation (03)
                 · Other PI/PD/WD (Personal Injury/Property                 D Other collections (09)                                  D           Construction defect (10)
                                                                            D Insurance coverage (18)                                 D
                 ·D
                  □
                   Damage/Wrongful Death) Tort
                           Asbestos (04)                                    D Other contract (37)                                     D
                                                                                                                                                  Mass tort(40)
                                                                                                                                                  Securities litigation (28)
                            Product liability (24)                          Real Property                                             D           Environmental{Toxic tort (30)
                  D        Medical malpractice (45)                         D Eminent domain/Inverse                                  D           Insurance coverage claims arising from the
                -@         Other PVPD/WD (23)                                     condemnation (14)                                               above listed provisionally complex case
                   Non-PI/PD/WD.(Other) Tort                                D Wrongful eviction (33)                                              types (41)

                  D Business tort/unfair business practice (07)             D Other real property {26)                                Enforcement of Judgment
                  0 Civil rights (08)                                       Unlawful Detainer                                         D           Enforcement of judgment (20)
                  D Defamation (13)                                         D Commercial {31)                                         Miscellaneous Civil Complaint
                . D Fraud (16)                                              D Residential (32}                                        D           RICO(27)
                  D Intellectual pf'O'P8rly ( 19)                           D Orugs(38)                                               D           Other complaint (not specified above) (42)
                  D Professional negligence {25)                            Judicial Review                                           Miscellaneous Civil Petition
                  D Other non-Pl/PD/WO tort (35)                            D ' Asset forfeiture (05)                                 D           Partnership and               corpo;.--;
                                                                                                                                                                              governance (21)
                  Employment                                                D Petition re: arbitration award (11)                     D           Other petition (not specified above} (4j)
                  D Wrongful termination (36)                               D Writ of mandate (02)
                  D Otheq:mployment (15)                                    n       Other judicial review (39)
              2. This case LJ is        l.LJ is not complex under rule 3.400 of the California Rules of Court. If the case is complex, mark the
                 factors requiring exceptional judicial management:
                   a.   D      Large number.of separately represented parties                    d.   D    Large number of witnesses
                   b.   D      Extensive motion practice raising difficult or novel              e.   D    Coordination with related actions pending in one or more courts
                               issues that will be time-consuming to resolve                               in other counties, states, or countries, or in a federal court
                   c.   D      Substantial amount of documentary evidence                        f.   D    Substantial postjudgment judicial supervision

              3. Remedies sought (check all that apply): a.[Z] monetary b.D nonmonetary; declaratory or injunctive relief c.                                                                                 D         punitive
              4. Number of causes of action (specify): One ( 1)
              5. _This case D is        [Z] is not a class action suit.
              6. If there are any known related cases, file and serve a notice of related case. (You may use f o r , ~ .
              Date: July 6, 202.l      .                                                                                                i J f I /'J
              Hesam Yazdanpanah, Esq. (SBN:275664)                                                         ►                          {I-          '1-r' t
                                                 (TYPE OR PRINT NAME)                                      <-------,(;;;Sl"'G;--;-NA:--;TU:;-;R;::-;E~O""'F""'P'°"AR""TY"°""O,i::R:,.,ATTO="'RN:-;::E:,;Y-;:-FO;::-;R::--:P::-:ARTY)=::------

                                                                                               NOTICE
                 • Plaintiff must file this cover sheet with the first paper filed in the action or proceeding ( except small claims cases or cases filed
                   under the Probaat~. Family Code, or Welfare and Institutions Code). (Cal. Rules of Court, rule 3.220.) Failure to file may result
                   in sanctions.                .
                 • File this cover sheet in addition to any cover sheet required by local court rule.
                 • If this case is complex under rule 3.400 et seq. of the California Rules of Court, you must serve a copy of this cover sheet on all
                   other parties to the action or proceeding.
                 • Unless this is a collections case under rule 3.740 or a complex case, this cover sheet will be used for statistical purposes onlv.
                                                                                                                                                                                                                          ffage1 of2
               Form Adopled for. Mandatory Use                                                                                                             CaLRulesofCout1.rules2.30,3.22D,3.~.403,3.740;
                 Judicial Coundl of California
                                                                            CIVIL CASE COVER SHEET                                                              Cal. Slanda1ds of Judicial Administration, std. 3.10
                 CM-010 [Rev. July 1, 2007]                                                                                                                                                                  www.CtJUTtinfo.ca.gov
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                                                                                                                                         CM-010
                                        INSTRUCTIONS ON HOW TO COMPLETE THE COVER SHEET
To Plaintiffs and Others Filing First Papers. If you are filing a first paper (for example, a complaint) in a civil case, you must
complete and file, along with your first paper, the Civil Case Cover Sheet contained on page 1. This information will be used to compile
statistics about the types and numbers of cases filed. You must complete items 1 through 6 on the sheet. In item 1, you must check
one box for the case type that best describes the case. If the case fits both a general and a more specific type of case listed in item 1,
check the more specific one. If the case has multiple causes of action, check the box that best indicates the primary cause of action.
To assist you in completing the sheet, examples of the cases that belong under each case type in item 1 are provided below. A cover
sheet must be filed only with your initial paper. Failure to file a cover sheet with the first paper filed in a civil case may subject a party,
its counsel, or both to sanctions under rules 2.30 and 3.220 of the California Rules of Court.
To Parties in Rule 3.740 Collections Cases. A "collections case• under rule 3.740 is defined as an action for recovery of money
owed in a sum stated to be certain that is not more than $25,000, exclusive of interest and attorney's fees, arising from a transaction in
whrch property, services, or money was acquired on credit. A collections case does not Include an action seeking the following: (1) tort
damages, (2) punitive damages, (3) recovery of real property, (4) recovery of personal property, or (5) a prejudgment writ of
attachment. The identification of a case as a rule 3.740 collections case on this form means that it will be exempt from the general
time-for-service requirements and case management rules, unless a defendant files a responsive pleading. A rule 3.740 collections
case will be subject to the requirements for service and obtaining a judgment In rule 3. 740.
To Parties In Complex Cases. In complex cases only, parties must also use the Civil Case Cover Sheet to designate whether the
case is complex. If a plaintiff believes the case is complex under rule 3.400 of the California Rules of Court, this must be indicated by
completing the appropriate boxes in items 1 and 2. If a plaintiff designates a case as complex, the cover sheet must be served with the
complaint on all parties to the action. A defendant may file and serve no later than the time of its first appearance a joinder in the
plaintiffs designation, a counter-designation that the case is not complex, or, if the plaintiff has made no designation, a designation that
the case is complex.                                        CASE TYPES AND EXAMPLES
Auto Tort                                        Contract                                            Provlslonally Complex Clvll Litigation (Cal.
     Auto (22)-Personal Injury/Property             Breach of Contract/Warranty (06)                 Rules of Court Rules 3.400-3.403)
         Damage/Wrongful Death                           Breach of Rental/Lease                           Antitrust/Trade Regulation (03)
     Uninsured Motorist (46) (if the                           Contract (not unla':""!I detainer          Construction Defect (1 O)
         case involves an uninsured                                or wrongful evtction)                  Claims Involving Mass Tort (40)
          motorist claim subject to                      ContractNVarranty Breach-Seller                  Securities Litigation (28)
          arbitration check this Item                          Plaintiff (not fraud or negligence)        Environmentalffoxic Tort (30}
          instead ofAuto)                                Negligent Breach of Contract/                    Insurance Coverage Claims
Olhet" Pl/PD/WO (Personal Injury/                              Warranty                                        (arising from provisionally complex
Property Damage.Wrongful Death)                          Other Breach of Contract/Warranty                     case type listed above) (41)
Tort                                                Collections (e.g., money owed, open               Enforcement of Judgment
     Asbestos (04)                                       bookaccounts)(09)                                Enforcement of Judgment {20)
          Asbestos Property Damage                       CoUection Case-Seller Plaint~                         Abstract of Judgment (Out of
          Asbestos Personal Injury{                      Other Promissory Note/Collections                         County)
                Wrongful Death                                 Case                     . .                    Confession of Judgment (non-
     Product Liabmty (not asbestos or               Insurance Coverage (not prov1s1onally                          domesllc relations)
          toxic/environmental) (24)                      complex) (18)                                         Sister State Judgment
     Medical Malpractice (45)                            Auto Subrogation                                      Administrative Agency Award
          Medical Malpractice-                           Other Coverage                                           (not unpaid taxes)
                Physicians & Surgeons               Other Contract (37)                                       Petition/Certification of Entry of
          Other Professional Health Care                 Contractual Fraud                                       Judgment on Unpaid Taxes
               ·Malpractice                              Other Contract Dispute                               Other Enforcement of Judgment
                                                                                                                  Case
     Other Pl/PD/WO (23)                         Real Property
          Premises Liability (e.g., slip            Eminent Domain/Inverse                            Miscellaneous Civil Complaint
                and fall)                                Condemnation (14)                               RICO (27)
          Intentional Bodily lnjury/PD,WD           Wrongful Eviction (33)                               Other Complaint (not specified
                                                                                                              above){42)
                (e.g., assault, vanda~sm)           Other Real Property(e.g., quiet title) (26)
                                                                                                              Declaratory Relief Only
          Intentional lnfllctlon of                      Writ of PossessiOn of Real Property
                                                                                                              Injunctive Relief Only (non-
                Emotional Distress                       l\llortgage Foreclosure
                                                                                                                   harassment)
          Negligent Infliction of                        Quiet TIUe
                Emotional Distress                       Other Real Property (not eminent                      Mechanics Uen
                                                                                                               Other Commercial Complaint
          other PI/PD/WD                                 domain, landlord/tenant, or
                                                                                                                  Case (non-tort/non-complex)
Non-PI/PD/WD (Other) Tort                                foreclosure)
                                                                                                               Other Civil Complaint
     Business Tort/Unfair Business               Unlawful Detainer                                                 (non-tort/non-ccmplex)
         Practice (07)                               Commercial ( 31)                                  Miscellaneous Civil Petition - · ·
     Civil Rights (e.g., discrimination,             Residential (32)                                     Partnership and Corporate
         false arre!lt► (not cM/                     Drugs (38} (if the case involves illegal                  Governance (21)
          harassment) (08)                               drugs, check this item; otherwise,               Other Petition (not specified
     Defamation (e.g., slander, libel)                   report as Comrrerciaf or Residential)                 above) (43)
           (13)                                  Judlclal Review                                               Civil Harassment
     Fraud (16)                                      Asset Forfeiture (05)                                     Workplace Violence
     Intellectual Property {19)                      Petition Re: Arbitration Award (11)                       Elder/Dependent Adult
     Professional Negligence (25)                    Writ of Mandate (02)                                           Abuse
       . Legal Malpractice                               Wril-Administrative Mandamus                          Election Contest
         Other Professional Malpractice                  Writ-Mandamus on Limited Court                        Petition for Name Change
               (not medical or legal)                         Case Matter                                      Petition for Relief From Late
   Other Non-PVPDIWD Tort (35)                            Writ-Other Limited Court Case                             Claim
Employment                                                    Review             .                             Other Civil Petition
   Wrongful Tennination (36)                         Other Judicial Review (39)
   Other Employment (15)                                  Review of Health Officer Order
                                                          Notice of Appeal-Labor
                                                              Commissioner Appeals
CM-010 [Rev. July 1, 20071                                                                                                                     Page 2 of2
                                                     CIVIL CASE COVER SHEET
       Case 2:22-cv-01010-MCS-RAO Document 1-2 Filed 02/14/22 Page 9 of 14 Page ID #:18


                                                                                                          CASE NUMBER
  SHORTTITLlvllR v. COSTCO WHOLESALE CORPORATION


                                  CIVIL CASE COVER SHEET ADDENDUM AND
                                          STATEMENT OF LOCATION
                   (CERTIFICATE OF GROUNDS FOR ASSIGNMENT TO COURTHOUSE LOCATION)

                   This form is required pursuant to Local Rule 2.3 in all new civif case filings in the Los Angeles Superior Court.




           Step 1: After completing the Ovil Case Cover Sheet (Judicial Council form CM-010), find the exact case type in
                      Column A that corresponds to the case type indicated in the Civil Case Cover Sheet.


           Step 2: In Column B, check the box for the type of action that best describes the nature of the case.

           Step 3: In Column C, circle the number which explains the reason for the court filing location you have
                      cho!;cn.

                                            Applicable Reasons for Choosing Court Filing Location (Column C)

1. Class actions must be filed in the Stanley Mosk Courthouse, Central District.         7. Locafion v.tiere petitioner resides.

2. Permissive filing in central district.                                                8. Location wherein defendanVrespondenl functions wholly.
3. Location where cause of action arose.                                                 9. Location where one or more of the parties reside.
4. Mandatory personal injury filing in North District.                                 1O. Location of Labor Commissioner Office.
                                                                                       11. Mandatory filing location (Hub Cases - unlawful detainer, limited
5. Location where performance required or defendant resides.
                                                                                       non-collection, limited collection, or personal injury).
6. Location of property or pennanently garaged vehicle.




                                  A                                                            B                                                           C
                        Civil Case Cover Sheet                                          Type of Action                                          Applicable Reasons -
                            GalegoryNo,- -                                             (Check only one)                                          See Step 3 Above

                              Auto(22)              □ A7100 MotorVehide - Personal Injury/Property DamageNVrongful Death                        1, 4. 11
    0        t::
   S         0
   < ....              Uninsured Motorist (46)      □    A7110 Personal Injury/Property Damage/Wrongful Death- Uninsured Motorist           1, 4, 11


                                                    □    A6070 Asbestos Property Damage                                                         1, 11
                            Asbestos (04)
                                                    □    A7221 Asbestos - Personal Injury/Wrongful Death                                        1, 11
   ~ t::
       Cl)  0
       Cl. ....
       0 .c              Produd Liability(24)       D A7260 Product Liability (not asbestos or toxic/environmental)                             1, 4, 11
   a:. tu
   -     Cl)
       2-a                                                                                                                                      1, 4, 11
   .2.:;                                            □ A7210 Medical Malpractice - Physicians & Surgeons
                       Medical Malpractice ( 45)
   -=m m     C                                      □ A7240 Other Professional Health Care Malpractice
                                                                                                                                                1, 4. 11
       C
       0
             e
             s:
       I!!                                          lii5 A7250 Premises Liability ( e.g., slip and ran)
       CII -CII
                                                                                                                                                1®
   '!: g>                  Other Personal
                           Injury Property          □ A7230 Intentional Bodily Injury/Property Damage/Wrongful Death (e.g.,
    Ill
   .C
       E      CD                                            assault, vandalism, etc.)
                                                                                                                                                1, 4, 11
                          Damage Wrongful
   50                        Death (23)                                                                                                         1. 4, 11
                                                    □ A7270 Intentional Infliction of Emotional Distress
                                                                                                                                                1, 4. 11
                                                    D A7220 Other Personal Injury/Property Damage/Wrongful Death
                                                                              ·~




   LACIV 109 (Rev 2/16)                            CIVIL CASE COVER SHEET ADDENDUM                                                        Local Rule       2.3
   LASC Approved 03-04                                AND STATEMENT OF LOCATION                                                                 Page 1 of 4
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                                                                                                           CASE NUMBER
SHORTTITLE:              MIR   v. COSTCO WHOLESALE CORPORATION

                                     ..   A-                                                      B                                            C Applicable
                            Civi Case Cover Sheet                                           Type of Action                                  Reasons - See Step 3
                                   Cat!?-QOryNo.                                           (Check only on_e)                                           Above

                                Business Tort (07)       □   A6029 Other CommerciaVBusiness Tort (not fraud/breach of contract)             1, 2, 3

  ~ t=
  C1) 0                          Civil Rights (08)       D   A6005 Civil Rights/Discrimination                                              1, 2, 3
  a. 1-
  o J:
   .. 1i:i
  0.. C1)                        Defamation (13)         D A6010 Defamation (slander/libel)                                                 1, 2, 3
  ~~
  ·--
  -
      ::I
      c
  .;; e
                   ::J
                   Cl)
                   C
                                    Fraucf (16)          D   A6013 Fraud (no contract)                                                      1, 2, 3

   5~                                                    D   A6017 legal Malpractice                                                        1, 2, 3
   E   cii
   C1) C)                Professional Neg6gence (25)
  0..            co                                      D   A6050 Other Professional Malpractice (not medical or legal)                    1, 2, 3
   c0            E
                 CIS
  ::z           0
                                    Other (35)           D A6025 Other Non-Personal Injury/Property Damage tort                             1, 2, 3


        'E                Wrongful Termination (36)      D A6037 Wrongful Termination                                                       1, 2, 3
         w
         E
         ~                                               D   A6024 Other Employment Complaint Case                                          1, 2, 3
       a.                   Other Employment ( 15)
            E                                            D A6109 Labor Commissioner Appeals                                                 10
       w
                                                         D   A6004 Breach of Rental/Lease Contract (not unlawful detainer or wrongful
                                                                                                                                            2,5
                                                                   eviction)
                         Breach of Contract/ Warranty                                                                                       2,5
                                     (06)                D A6008 Contract/Warranty Breach -Seller Plaintiff (no fraud/negligence)
                               (not insurance)           D   A6019 Negligent Breach of ContraclM'arranty (no fraud)
                                                                                                                                            1, 2, 5
                                                                                                                                            1,2,5
                                                         D A6028 Other Breach of Contract/Warranty (not fraud or negligence)

       ,:;                                               D A6002 CoUections Case-Seller Plaintiff                                           5, 6, 11
       £C                        CoRections (09)
                                                         D   A6012 Other Promissory NmeLCollections Case                                    5, 11
            0
       (.)
                                                         □   A6034 Collections Case-Purchased Debt (Charged Off Consumer Debt               5, 6, 11
                                                                   Purchased on or after January 1 2014)

                           Insurance Coverage (18)       D   A6015 Insurance Coverage (not complex)                                         1, 2, 5, 8


                                                         □ A6009 Contractual Fraud                                                          1, 2, 3, 5
                                Other Contract (37)      D   A6031 Tortious Interference                                                    1, 2, 3, 5
                                                         D   A6027 Other Contract Dlspute(not breach/insurance/fraud/negfigence)            1, 2, 3, 8, 9

                           Eminent Domain/Inverse                                                              Number of parcels_ _ _
                                                         D   A7300 Eminent Domain!CondernnaUon                                              2, 6
                             Condemnation (14)
          ~
            "'a.            Wrongful Eviction (33)       D   A6023 Wrongful Eviction Case                                                   2,6
           e
          fl..
        "iii                                             D   A6018 Mortgage Foreclost.re                                                    2, 6
        0:: "'             Other Real Property (26)      D A6032 Quietlitle                                                                 2,6
                                                         D A6060 Other Real Property (not eminent domain, landlord/tenant, foreclosure)     2,6


            .."'
            C:
                         Unlawful Delainer..Commercial
                                      (31)
                                                         D   A6021 Unlawful Detainer.Commercial (not drugs or wrongful eviction)            6, 11


        :!ca             Unlawful Detainer-Residential
                                                         D   A6020 Unlawful Detainer-Residential (not drugs or wrongful eviction)           6, 11
          0
                                     (32}
          "5                    Unlawful Detainer-
                                                         D A6020F Unlawful Detainer-Post-Foredosure                                         2,6, 11
          lc                   Post-Foreclosure (34)

          ::::,          Unlawful Detainer-Drugs (38)    D   A6022 Unlawful Detainer-Drugs                                                  2, 6, 11



 LACIV 109 (Rev 2/16)                                    CIVIL CASE COVERSHEET ADDENDUM                                                   Local Rule 2.3
 LASC Approved 03·04                                        AND STATEMENT OF LOCATION                                                       Page2 of 4
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SHORT ffilE:                                                                                         CASE NUMBER
                    MIR v. COSTCO WHOLESALE CORPORATION

                                   A                                                         B                               · C A.ppllcab~
                       Civil Case Cover Sheet                                         Type of Action                       Reasons - See Step 3
                             Category No.                                            (Check only one)                                Above

                         Asset Forfeiture (05)       D   A61-08 Asset Forfeiture Case                                      2,3, 6

                      Petition re Arbitration {11)   D   A6115 Petition to CompeVConfirmNacateArbilration                  2,5

                                                     D   A6151 Writ- Administrative Mandamus                               2,8
                         Writ of Mandate (02)        D   A6152 Writ- Mandamus on Limited Court Case Matter                 2
                                                     D   A6153 Writ- Other Limited Court Case Review                       2

                      Other Judicial Review {39)     □   A6150 Other Writ /Judicial Review                                 2,8


                    AnlitrusVTrade Regulation (03)   D   A6003 AnlitrusVTrade Regulation                                   1. 2, 8
         C
         0
       'Z
         "'
         C)            Construction Defect (10)      D A6007 Construction Defect                                           1, 2, 3
       5             Claims Involving Mass Tort
       ~                        (40)
                                                     D A6006 Claims Involving Mass Tort                                    1,2, 8
       ci.
         E
         0
       u               Securities Litigation (28)    D A6035 Securities Litigation Case                                    1, 2, 8
       .2:-
       ni                      Toxic Tort
         C                                           D A6036 Toxic Tort/Environmental
         0                                                                                                                 1, 2, 3, 8
       ·;;                Enviro-nmental (30)
       -~            Insurance Coverage Claims
       D..
                                                     D A6014 Insurance Coverage/Subrogation {complex case only)            1,2,5, 8
                       from Complex Case ( 41)

                                                     □ A6141 Slster State Judgment                                         2,5, 11
                                                     D A6160 Abstract of Judgment                                          2,6
  cc
  cu          Cl)
   E  E                      Enforcement             □   A6107 Confession of Judgment (non-domestic relations)             2,9
   cu C)

  -~
   0

  JjO
             ,:J
              ::,
             -,
                           of Judgnent (20)          D

                                                     □
                                                         A6140 Administrative Agency Award (not unpaid taxes)
                                                         A6114 PetiUon/Certificate for Entry of Judgment on Unpaid Tax
                                                                                                                           2,8
                                                                                                                           2,8
                                                     D A6112 Other Enforcement of Judgment Case                            2, 8, 9

                              RIC0(27)               □   A6033 Racketeering (RICO) Case                                    1,2,8
   U)
   ::,
             .5
              C
   0~                                                D A6030 Declaratory Relief Only                                       1, 2, 8
   ~          a.
  .!!! E                  Other Complaints           D A6040 Injunctive Re6ef Only (not domestic/harassment)               2,8
  Gi          0
  u          u        {Not Specified Above) (42)     D A6011 Other Commercial Complaint Case {non-tort/non-complex)        1, 2, 8
   UI
  :E >
     u                                               D A6000 Other Civil Complaint(non-tort/non-complex)                   1, 2, 8

                       Partnership Corporation
                                                     D A6113 Partnership and Corporate Governance Case                     2,8
                          Governance {21)

                                                                                                                                         .
                                                     □ A6121 Civil Harassment                                              2, 3, 9
   UI         UI
   ::,
   0
              C
              0
                                                     □   A6123 Workplace Harassment                                        2,3,9
   ~ '.w                                             D A6124 Elder/OependentAdult Abuse Case                               2, 3, 9
  ..!!! ~                Other Petitions (Not
  Gi D..                _Specified Above)( 43)       □   A6190 Election Contest
   ~         :~                                                                                                            2
  :EU                                                □   A6110 Petition for Change of Name/Change of Gender                2, 7
                                                     D A6170 Petition for Relief from Late Claim Law                       2,3, 8
                                                     D A6100 Other Civil Petition                                          2,9




 LACIV 109 {Rev 2/16)                                CIVIL·CASE COVER SHEET ADDENDUM                                     Local Rule 2.3
 LASC Approved 03-04                                    AND STATEMENT OF LOCATION                                          Page 3of 4
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 SHORT TITLE:                                                                           CASE NUMBER
                MIR v. COSTCO WHOLESALE CORPORATION



Step 4: StatemeAt.o.f Reason·•and Address: Checldhe appropriate boxes fort he numbers shown under Column Cfor the
            type of action that you have selected. Enter the address which is the basis for the filing location, including zip code.
            (No address required for class action cases).

                                                                    ADDRESS:
   REASON:                                                          On or near 5700 Lindero Canyon Rd
    : 1.: 2. : 3. L 4.: 5.: 6. : 7.     -= 8. :   9.:10.211.



   CITY:                                   STATE:     ZPCODE:
                                                                               ..
   Westlake Village                        CA         91362

Step 5: Certification of Assignment: l certify that this case is properly filed in the   Central                        District of
            the Superior Court of California, County of Los Angeles [Code Civ. Proc., §392 et seq., and local Rule 2.3(a)(l)(E)].




  Dated: July 6, 2021                                                                        If ~
                                                                                    {SIGNATURE OF ATTORNEY/FILING PARTY)




  PLEASE HAVE THE FOLLOWING ITEMS COMPLETED AND READY TO BE FILED IN ORDER TO PROPERLY
  COMMENCE YOUR NEW COURT CASE:

       1. Original Complaint or Petition.
       2.   If filing a Comp[aint, a completed Summons form for issuance by the Clerk ..

       3.   Civil Case Cover Sheet, Judicial Council form CM-010.

       4.   Civil Case Cover Sheet Addendum and Statement of Location form, LACIV 109, LASC APProved 03-04 (Rev.
            02/16).
       5.   Payment in full of the filing fee, unless there is court order for waiver, partial or scheduled payments.
       6.   A signed order appointing the Guardian ad Utem, Judicial Council form CIV-010, if the plaintiff or petitioner is a
            minor under 18 years of age will be required by Court in order to issue a summons.

       7.   Additiona[ copies of documents to be conformed by the Clerk. Copies of the cover sheet and this addendum
            must be served along with the summons and complaint, or other initiating pleading in the case.




  LACIV 109 (Rev 2/16)                    CIVIL CASE COVER SHEET ADDENDUM                                               local Rule 2.3
  LASC Approved 03-04                        AND STATEMENT OF LOCATION··-· - - ..                                          Page 4 of 4
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    . CT Corporation                                                                                     Service of Process
                                                                                                         Transmittal
                                                                                                         01/28/2022
                                                                                                         CT Log Number 540964410
     TO:         Laura Aznavoorian, Litigation Supervisor
                 Gallagher Bassett Services, Inc.
                 1901 S. Meyers Rd, Suite 200C
                 Oakbrook Terrace, IL 60181

     RE:         Process Served in California

     FOR:        Costco Wholesale Corporation (Domestic State: WA)




     ENCLOSED ARE COPIES OF LEGAL PROCESS RECEIVED BY THE STATUTORY AGENT OF THE ABOVE COMPANY AS FOLLOWS:

     TITLE OF ACTION:                                  Re: LEE-MIR, an individual // To: Costco Wholesale Corporation
     DOCUMENT(S) SERVED:                               --
     COURT/AGENCY:                                     None Specified
                                                       Case # 21STCV24791
     NATURE OF ACTION:                                 Personal Injury - Failure to Maintain Premises in a Safe Condition
     ON WHOM PROCESS WAS SERVED:                       C T Corporation System, GLENDALE, CA
     DATE AND HOUR OF SERVICE:                         By Process Server on 01/28/2022 at 01:48
     JURISDICTION SERVED :                             California
     APPEARANCE OR ANSWER DUE:                         None Specified
     ATTORNEY(S) / SENDER(S):                          None Specified
     ACTION ITEMS:                                     CT has retained the current log, Retain Date: 01/28/2022, Expected Purge Date:
                                                       02/12/2022

                                                       Image SOP

                                                       Email Notification, Laura Aznavoorian laura_aznavoorian@gbtpa.com

                                                       Email Notification, Zois Johnston zjohnston@costco.com

                                                       Email Notification, Maureen Papier maureen_papier@gbtpa.com

     REGISTERED AGENT ADDRESS:                         C T Corporation System
                                                       330 N BRAND BLVD
                                                       STE 700
                                                       GLENDALE, CA 91203
                                                       866-665-5799
                                                       SouthTeam2@wolterskluwer.com
     The information contained in this Transmittal is provided by CT for quick reference only. It does not constitute a legal opinion, and should not otherwise be
     relied on, as to the nature of action, the amount of damages, the answer date, or any other information contained in the included documents. The recipient(s)
     of this form is responsible for reviewing and interpreting the included documents and taking appropriate action, including consulting with its legal and other
     advisors as necessary. CT disclaims all liability for the information contained in this form, including for any omissions or inaccuracies that may be contained
     therein.




                                                                                                         Page 1 of 1 / VE
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                                                         @., Wolters Kluwer

                       PROCESS SERVER DELIVERY DETAILS




 Date:                   Fri, Jan 28, 2022

 Server Name:            Victor Mendez




 Entity Served            COSTCO WHOLESALE CORPORATION

 Case Number              21STCV24791

 Jurisdiction            CA




         11111111111 1111111 11111
